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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

Manuel Barrios, et al.,                             )
                                                    )      No. 15-CV-2648
                                                    )
               Plaintiffs,                          )      The Honorable Joan B. Gottschall
                                                    )
        v.                                          )
                                                    )
The City of Chicago,                                )
                                                    )
               Defendant.                           )

 ORDER APPOINTING CLASS ADMINISTRATOR, CLASS COUNSEL, AND CLASS
                        REPRESENTATIVES

        This cause having come to be heard on Plaintiffs’ Uncontested Motion For Preliminary

Approval Of Class Action Settlement, For Conditional Certification of a Settlement Class, For

Approval of Notice and an Administrator, and For Appointment of Class Representatives and

Class Counsel, this Court having fully considered the Motion, its Supporting Memorandum, and

the exhibits, and having entered an order on June 9, 2020, preliminarily approving the settlement

(“Preliminary Approval Order”) and approving the Notice Plan:

        IT IS HEREBY ORDERED THAT:

1.      JND Legal Administration is appointed as “Claims Administrator” to implement the Notice
        Plan, and to administer the claims process in the manner detailed in the Preliminary
        Approval Order.
2.      Edward R. Moor of Moor Law Office, P.C. and Paul J. Lytle of Lytle & Milan are
        appointed as Settlement Class Counsel bound by duties imposed by law and by the terms
        of the Stipulation and Agreement of Settlement and the Preliminary Approval Order.
3.      Manuel Barrios, Savanah Washington and Brandon Fuller are appointed as Class
        Representatives with the duties imposed upon them by law.

                                                  /s/
                                            The Honorable Joan B. Gottschall


                                            Date: 7/22/20
